              Case 2:23-mj-30399-DUTY ECF No. 1, PageID.1
                                           AUSA:              Filed
                                                    C. Barrington    10/02/23 Telephone:
                                                                  Wilkins      Page 1 of(313)
                                                                                          10 226-9100
AO 91 (Rev. ) Criminal Complaint            Special Agent:          Daniel Ghareeb, HSI            Telephone: (313) 587-9772

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan

United States of America
   v.
                                                                  Case: 2:23−mj−30399
Ivan Blas-Martinez
                                                                  Assigned To : Unassigned
                                                                  Assign. Date : 10/2/2023
Martin Blas-Hernandez                                             CMP: USA v BLAS−MARTINEZ, et al. (MAW)




                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                October 1, 2023                 in the county of                Wayne        in the
       Eastern           District of      Michigan SD      , the defendant(s) violated:
                  Code Section                                            Offense Description
21 U.S.C. § 841(a)(1) & (b)(1)(A)                       Possession with Intent to Distribute Cocaine, a schedule II controlled substance




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




     Continued on the attached sheet.
                                                                                           Complainant’s signature

                                                                                    Daniel Ghareeb, Special Agent, HSI
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: October 2, 2023                                                                          Judge’s signature

City and state: Detroit, Michigan                                         Hon. Elizabeth Stafford, United States Magistrate Judge
                                                                                            Printed name and title
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             AFFIDAVIT IN SUPPORT OF COMPLAINT

         I, Daniel Ghareeb, being sworn, depose and state the following:
                               INTRODUCTION
1. This affidavit is in support of a criminal complaint charging Ivan BLAS-

   MARTINEZ and Martin BLAS-HERNANDEZ with possession with

   intent to distribute cocaine, a schedule II controlled substance in violation

   of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).

2. I am currently a Special Agent with the Department of Homeland Security,

   Homeland Security Investigations (“HSI”) in Detroit, Michigan. I have

   been a Special Agent with HSI since 2007. Prior to my current assignment,

   I was a police officer with the North Baltimore Ohio Police Department

   for approximately two years. I hold a Bachelor and Master of Science in

   Criminal Justice. I have received specialized training about illegal drug

   trafficking and money laundering at the Federal Law Enforcement

   Training Center located in Brunswick, Georgia. I have led and participated

   in numerous investigations related to illegal drug trafficking as well as

   methods used to finance drug transactions and launder drug proceeds.




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3. I make this affidavit based on my participation in this investigation, as well

   as information received from other law enforcement officials and/or their

   reports and records. The information outlined herein is provided for the

   limited purpose of establishing probable cause and does not contain all

   information known to law enforcement pertaining to this investigation.

4. As set forth in more detail below, this investigation has shown that on or

   about October 1, 2023, Ivan BLAS-MARTINEZ and Martin BLAS-

   HERNANDEZ attempted to receive cocaine into United States from

   Mexico via the World Trade Bridge, Port of Entry (POE) in Laredo, Texas.

   The cocaine was eventually followed from Laredo, Texas, to a warehouse

   in Wixom, Michigan, located in the Eastern District of Michigan. There is

   probable    cause    to   conclude     BLAS-MARTINEZ           and    BLAS-

   HERNANDEZ possessed with an intent to distribute cocaine in violation

   of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).

                              PROBABLE CAUSE
5. On September 27, 2023, a tractor trailer hauling a yellow trailer bearing

   Texas temporary license plate 57201228 containing a shipment of plastic

   bags applied for admission into the United States from Mexico through the

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   World Trade Bridge, Port of Entry (POE) in Laredo, TX. Upon applying

   for admission, United States Customs and Border Protection Officers

   (CBPOs) referred the driver, the tractor, trailer, and the shipment for

   secondary inspection.

6. During the inspection, CBPOs x-rayed the trailer and observed anomalies

   within the commodity in the trailer. CBPOs' K-9 alerted to the presence of

   narcotics within the trailer. Upon inspection, CBPO's extracted a bundle

   containing a white powdery substance that tested positive for the properties

   of cocaine. CBPOs utilized the GEMINI, which is a narcotics testing

   equipment utilized to identify properties of various narcotics.

7. To Track the movement of the trailer effectively and to decrease the chance

   of detection of law enforcement, agents exercised border search authority

   and placed a tracking device in the trailer while it was seeking entry at the

   international border in Laredo, Texas, on September 27, 2023, at

   approximately 12:30 pm. The tracker was installed in anticipation of

   receiving a tracking search warrant, which was eventually signed out of

   the Western District of Louisiana on September 29, 2023. After installation

   of the tracker, the trailer was allowed to leave the custody of CBP. The
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   trailer departed the POE, and law enforcement personnel observed it

   arriving at a warehouse located at 416 Grand Central Boulevard in Laredo,

   TX.

8. Upon arrival at the yard/warehouse, the driver parked and unhitched the

   trailer. During this time, law enforcement personnel observed the tractor

   trailer driver replace the trailer's Texas temporary license plate 5720R28

   with temporary license plate 53646Sl. The driver subsequently departed

   the location, leaving the trailer at the yard/warehouse. Law enforcement

   maintained constant visual on the trailer before and after it was parked.

9. On September 28, 2023, at approximately 1:00 PM, law enforcement

   personnel observed when the trailer was hitched by a white tractor bearing

   Texas license plate R59G8956 and transported to a warehouse located at

   3805 North Cesar Chavez Road in San Juan, TX. At this location, law

   enforcement personnel observed the merchandise being offloaded from the

   yellow trailer and loaded onto a white trailer bearing Maine License Plate

   2597G2E, transported by a white tractor bearing Texas license plate

   R464940 (hereafter, TRACTOR TRAILER).



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10.Once the merchandise was loaded onto the TRACTOR TRAILER, it

  departed the location and started traveling north in furtherance into the

  United States. Law enforcement personnel has maintained constant

  physical observation of the TRACTOR TRAILER during its travel.

11.On September 29, 2023, at approximately 12:45 PM, the TRACTOR

  TRAILER was stopped by the Texas Department of Public Safety in

  Kingsville, Texas. During the inspection, a bill of lading was presented

  showing both the consignee and final delivery location as BLS

  Remodeling Inc. at 48733 West Road, Wixom, Michigan 48393. The

  description of the goods stated it was black poly sheeting, with a quantity

  of 600 on 20 pallets.

12.The TRACTOR TRAILER then began traveling north for two days

  including normal rest stops. On September 30, 2023, at approximately

  11:40 PM, The TRACTOR TRAILER arrived at a truck stop in Dexter,

  Michigan, where it stopped for the night.

13.On October 1, 2023, at, approximately, 7 a.m., the TRACTOR TRAILER

  arrived at 48733 West Road, Wixom, MI. At 12:07 p.m., a red Dodge

  Charger arrived at the location. A Hispanic male got out of the Dodge and
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  made contact with the driver of the TRACTOR TRAILER. The Dodge

  Charger was occupied by three male suspects who appeared to be

  Hispanic. After speaking to the driver, the male then opened the garage

  door for 48749 West Road, Wixom 48393. This was the warehouse next

  door to the address on the bill of lading. The Hispanic male directed the

  driver of the TRACTOR TRAILER to back into the garage of the 48749

  West Road building. The TRACTOR TRAILER remained backed into the

  garage for approximately one hour and departed at approximately 1:00

  PM.

14.At approximately 1:15 PM, the three males exited the warehouse and

  attempted to leave before they were arrested by HSI Special Agents. Ivan

  BLAS-MARTINEZ and BLAS-HERNANDEZ were arrested and

  transported to Wixom Police Department. BLAS-MARTINEZ and BLAS-

  HERNANDEZ were read their Miranda statements of rights and

  subsequently interviewed. BLAS-MARTINEZ stated that he knew that a

  tractor trailer was headed to Wixom, Michigan, with cocaine hidden within

  its cargo. BLAS-MARTINEZ stated that he unloaded the TRACTOR

  TRAILER and placed its contents inside the warehouse.            BLAS-
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  MARTINEZ also stated that he was the lessee of 48749 West Road,

  Wixom 48393, the warehouse where the cocaine was delivered.

15.BLAS-MARTINEZ additionally stated that he and his father, BLAS-

  HERNANDEZ unloaded a truck approximately three (3) weeks ago at the

  same warehouse and that his father used a hand dolly inside the trailer of

  the truck to bring the pallets to the rear door of the trailer. Once the pallets

  were brought to the door, BLAS-MARTINEZ would use a forklift to take

  the pallets off the truck and arrange them on the warehouse floor. BLAS-

  MARTINEZ stated that during the current unloading (October 1, 2023),

  his father’s hand was injured so his relative came with them to help his

  father unload the pallets from the trailer. BLAS-MARTINEZ stated that

  his father, BLAS-HERNANEZ was inside the trailer coordinating with

  their relative to bring the cocaine laden pallets to the back of the trailer.

  BLAS-MARTINEZ stated that his father, BLAS-HERNANDEZ, had

  knowledge that the trailer they were unloading contained cocaine. BLAS-

  MARTINEZ also stated that he used his father’s cellular telephone to

  coordinate shipments of cocaine with other people.



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16.At approximately 5:00 PM search warrant was authorized for the

   warehouse located at 48749 West Road, Wixom 48393. During the search

   HSI Special Agents discovered 223 bricks of suspected cocaine. Based on

   my experience when encountering bricks of cocaine, these bricks weigh at

   least one (1) kilogram each.

17.Based on my training and experience, the volume of controlled substances

   and the manner in which they were being transported from Mexico to the

   United States is indicative of a broader drug trafficking effort that is

   involved in the further distribution of the controlled substances.

                               CONCLUSION

18.Based on my experience, drug trafficking organizations transport several

   million dollars of cocaine in a coordinated manner. Every individual

   involved in the transportation of cocaine are known to the organization

   and reimbursed monetarily by the organization. Based on the above,

   probable cause exists to show that Ivan BLAS-MARTINEZ possessed

   with the intent to distribute cocaine in violation of Title 21, United States

   Code, Sections 841(a)(1) and (b)(1)(A).



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                                     _____________________________
                                     Daniel Ghareeb
                                     Special Agent
                                     Homeland Security Investigations




 Subscribed and sworn to before me
 or by reliable electronic means.


 _____________________________
 Honorable Elizabeth A. STAFFORD
 United States Magistrate Judge




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